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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                 DIVISION ORLANDO

PEDRO JUAN MILLAN,                                    )
                                                      )
        Plaintiff,                                    )
vs.                                                   )       Civil Action File No.
                                                      )       6:22-cv-00197-CEM-EJK
RECEIVABLE MANAGEMENT                                 )
GROUP, INC.                                           )
                                                      )
        Defendant.                                    )
                                                      )

      DEFENDANT’S RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION FOR
                      AWARD OF ATTORNEYS’ FEES

        COMES NOW Defendant Receivable Management Group, Inc. (“RMG”) and files its

response in opposition to Plaintiff’s Motion for Award of Attorneys’ Fees as follows:

                                        INTRODUCTION

        Plaintiff Pedro Juan Millan (“Millan) filed suit on December 10, 2021, in the County

Court of the 9th Judicial Circuit, Osceola County, Florida alleging a single claim for a violation

of the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C.§ 1692 et seq. Doc. 1-1. At

issue was one letter that RMG sent Millan dated March 1, 2021, attempting to collect a debt on

behalf of the creditor Radiology Associates of South Florida (“RASF”). Doc. 1-1, ¶ 28. That

debt was not owed by Millan as it was related to a work injury. Doc. 1-1, ¶¶ 9 to 17. Since he did

not owe the debt, he alleged that RMG violated 15 U.S.C. § 1692e(2)(A). Doc. 1-1, ¶¶ 9 to 17

and 32 to 40. This is not a new or novel claim. This is one of hundreds of substantially similar

cases that Thomas Patti (“Mr. Patti”) and Paul Herman (“Mr. Herman”) have filed in state and

federal courts in Florida.




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         RMG removed this case to federal court on February 1, 2022, and the Parties complied

with this Court’s local rules and filed its Uniform Case Management Report on March 31, 2022.

Otherwise, no other litigation occurred in this case. RMG served an offer of judgment on April 8,

2022, and it was accepted on April 20, 2022. With minimal litigation conducted in this case Mr.

Patti and Mr. Herman now seek $18,595.00 in attorneys’ fees for 33 hours of work. For the

following reasons, Mr. Patti and Mr. Herman’s hourly rates and hours are unreasonable.

   I.       Lodestar Calculation

   The lodestar approach is used to determine a reasonable attorney fee. Norman v. Hous. Auth.

836 F. 2d 1292 (11th Cir. 1988). The lodestar fee is calculated by multiplying the reasonable

hourly rate for the services provided by the hours reasonably expended on the litigation.

Loranger v. Stierheim, 10 F. 3d 776, 781 (11th Cir. 1994). It is the fee applicant’s burden to

demonstrate that its rate and hours are reasonable. Norman, 836 F. 2d at 1303. A party can

satisfy this burden by either producing direct evidence of rates charged in other circumstances or

opinion evidence of reasonable rates. Sandler v. Michael Maxwell Grp. LLC, 6:19-cv-1688,

2019 U.S. Dist. LEXIS 223815, * 12 (M.D. Fla. Dec. 13, 2019), adopted by Sandler v. Michael

Maxwell Grp. LLC, 6:19-cv-1688, 2020 U.S. Dist. LEXIS 737 (M.D. Fla. Jan. 3, 2020).

   II.      Reasonable Hourly Rate

   A reasonable rate is the “prevailing market rate in the relevant legal community for similar

services by lawyers of reasonably comparable skill, experience and reputation.” Norman, 836 F.

2d at 1299. The burden is on the fee applicant to come forward with satisfactory evidence that

their rates are in line with the prevailing market rates. Id. Such satisfactory evidence would be

evidence of rates charged by other lawyers in similar circumstances or opinion evidence of

reasonable rates. Id. An affidavit from the attorney that performed the work is not satisfactory



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evidence of a reasonable rate. Loranger, 10 F.3d at 781. If a party fails to provide any such

evidence, then the Court can rely on its own knowledge and experience of the prevailing market

rate to determine a reasonable hourly rate. Norman, 836 F. 2d at 1303. Courts are to leave the

higher rates to the most skilled attorneys litigating complex cases. Westlake v. Atl. Recovery

Solutions, LLC, 8:15-cv-1626, 2016 U.S. Dist. LEXIS 7692, * 7 (M.D. Fla. Jan. 22, 2016).

    When determining a reasonable rate, the Court may consider the following factors:

    1) the time and labor required; 2) the novelty and difficulty of the questions; 3) the skill
    requisite to perform the legal services properly; 4) the preclusion of other employment by the
    attorney due to acceptance of the case; 5) the customary fee in the community; 6) whether the
    fee is fixed or contingent; 7) time limitations imposed by the client or circumstances; 8) the
    amount involved and the results obtained; 9) the experience, reputation, and the ability of the
    attorney; 10) the "undesirability" of the case; 11) the nature and length of the professional
    relationship with the client; and 12) awards in similar cases.

Sandler, 2019 U.S. Dist. LEXIS at * 13 (citing Johnson v. Georgia Highway Exp. Inc. 488 F. 2d

714 (5th Cir. 1974). These factors are referred to as the Johnson factors.

        The only evidence that Mr. Patti and Mr. Herman provided regarding the reasonableness

of its rate are self-serving affidavits that state their rates are reasonable. Such evidence is

insufficient. Loranger, 10 F.3d at 781. Millan’s attorneys do cite cases in the United States

District Court for the Southern District of Florida as evidence of the reasonableness of their

rates.1 However, since those rates are not in the prevailing market (the Orlando Division of the

Middle District of Florida), those rates do not apply here. Since Millan has failed to carry his

burden, the Court can rely on its own experience to set the reasonable rate for Mr. Patti and Mr.




1
 In 2021, Mr. Patti was awarded a rate of $375 an hour and Mr. Herman was awarded $450 an hour.
Greenwald v. Frost-Arnett Co., 19-62751, 2021 U.S. Dist. LEXIS 33613 (S.D. Fla. Feb. 22, 2021). Both
attorneys are now seeking an almost 40% increase in their hourly rate that was just awarded last year.
Even in a period of record inflation, such a drastic increase is unwarranted. Furthermore, that rate was
not awarded in this District or Division and neither Mr. Patti nor Mr. Herman provide any evidence of the
prevailing market rate in that legal community.
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Herman. When applying the Johnson factors to this case, the requested rates are completely and

utterly unreasonable and warrant a substantially lower hourly rate than requested.

            a. Johnson Factors

                     i. Time and Labor Required, Novelty and Difficulty of the Questions
                        and Skill Requisite to Perform the Legal Services Properly

        These three Johnson factors involve overlapping issues so they will be combined and

discussed together. When applying these factors to this case, it is clear that the requested rates of

$525 and $625 are unreasonable. Millan contends that his injury was work related and, pursuant

to Florida state law he does not owe for services related to a work-related injury. Since he

doesn’t owe the debt, RMG’s one letter violated the FDCPA. This is not a novel issue and

Millan’s counsel has litigated hundreds of these claims. 2 This was a straightforward FDCPA

case. It involved one FDCPA claim involving one letter to Millan. This was not a class action.

No federal court discovery was propounded, and no depositions were taken. No dispositive

motions were filed. Millan accepted an offer of judgment which was served within three months

of being removed to this Court.

        Millan’s attorneys testify that they have extensive experience in this practice area.

Therefore, this run-of-the-mill case did not involve (or require) extensive time or labor. It did

not involve a difficult, complex or novel issue. It involved an individual FDCPA claim about one

collection letter. Handling such a claim did not require exceptional skill. Even though an



2
 For example, Mr. Patti’s firm has filed several substantially similar law suits involving almost identical
claims against RMG since 2019. See, Jose Luis Arreola v. Receivable Management Group, Inc., et al.,
U.S.D.C. for the Southern District of Florida, Civil Action File No. 1:19-cv-24624 -MGC. Juan Carlos
Diaz v. Receivable Management Group, Inc., U.S.D.C. for the Southern District of Florida, Civil Action
File No. 1:21-cv-22172. David Garcia v. PVL Associates, Inc., and Receivable Management Group, Inc.,
County Court of the 11th Judicial Circuit, Miami-Dade County, Florida, Case No. 2021-009530-SP-05.
Carl Glover v. Receivable Management Group, Inc., et al, County Court for the 11th Judicial Circuit,
Miami-Dade County, Florida, Case No. 2020-025850-SP-05.
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attorney may have substantial experience, a prevailing plaintiff is “not entitled to have the losing

party pay for an attorney with the most experience on a given issue, regardless of the price, but

only for the one with reasonable experience at the market rate.” Westlake, 2016 U.S. Dist.

LEXIS at * 7-8; citing, Ceres Envtl. Servs., Inc., v. Colonel McCrary Trucking, LLC, 476 F.

App’x 198, 203 (11th Circ. 2012). Since this case involved a non-complex, run-of-the mill

FDCPA case, rates of $525 and $625 an hour are unreasonable. This factor favors a lower

hourly rate than requested.

                   ii. The Preclusion of Other Employment by the Attorney Due to
                       Acceptance of the Case

       Awarding a higher rate may be warranted if handling a case precludes the attorney from

accepting other cases. Millan does not come forward with any evidence that his attorneys were

precluded from representing other clients due to this case. Mr. Patti’s affidavit indicates that he

practices predominately in the United States District Court for the Southern District of Florida.

A review of that Court’s docket shows that since December 10, 2021, when this case was filed,

Mr. Patti has 154 open cases in that court. That equates to Mr. Patti filing roughly 25 cases a

month. This does not include the lawsuits that Mr. Patti has filed in state court. Based on the

high volume of cases filed by Mr. Patti, it is highly unlikely that handling Millan’s case

prevented either Mr. Patti or Mr. Herman from accepting other cases. This factor favors a lower

hourly rate than requested.

                  iii. The Customary Fee in the Community and Awards in Similar Cases

       RMG will combine two factors – the customary fee in the community and awards in

similar cases – and discuss them together. The prevailing legal community is the Orlando




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Division of the Middle District of Florida. 3 Norman, 836 F. 2d at 1299. Mr. Patti is seeking a

rate of $525 an hour and Mr. Herman is seeking a rate of $625 an hour. Mr. Patti has been

practicing law for less than 7 years and his practice has focused on consumer litigation. Mr.

Herman was originally barred in 1984 but has only been practicing consumer litigation since

2006. Although Mr. Herman’s practice has focused on consumer litigation for approximately 16

years, during that time Mr. Herman was suspended from the practice of law between July 11,

2015, and February 6, 2017, therefore, reducing his experience in this area of law to 14.5 years.

        For FDCPA cases in the Orlando Division, this court has found the following hourly rates

reasonable based on the attorney’s experience:

    -   $275 an hour for an undefined amount of experience . Sandler, 2019 U.S. Dist. LEXIS at
        * 14;
    -   $300 an hour for an attorney with 15 years’ experience. Alston v. Summit Receivables,
        6:17-cv-1723, 2018 U.S Dist. LEXIS 118978, * 28 (M.D. Fla. June 27, 2018), adopted by
        Alston v. Summit Receivables, 6:17-cv-1723, 2018 U.S. Dist. LEXIS 118617 (M.D. Fla.
        July 17, 2018).
    -   $450 an hour for attorneys with between 19 and 27 years of experience. Baez v. LTD Fin.
        Servs., L.P., 6:15-cv-1043, 2019 U.S. Dist. LEXIS 86949, * 10 (M.D. Fla. May 23,
        2019).4

    In other divisions within this District, courts have found the following rates reasonable in

FDCPA cases:

    -   $225 for an attorney with 7 years’ experience. Victor v. Petrousky, 6:19-cv-788, 2020
        U.S. Dist. LEXIS 223978, * 12-13 (M.D. Fla. Nov. 2, 2020), adopted by Victor v.
        Petrousky, 6:19-cv-788, 2020 U.S. Dist. LEXIS 230705 (M.D. Fla. Dec. 1, 2020).
    -   $300 an hour to an attorney with 5 years’ experience. Frechete v. Nat’l Credit Sys., 8:19-
        cv-37, 2020 U.S. Dist. LEXIS 240234, * 10 (M.D. Fla. Mar. 30, 2020), adopted by
        Frechete v. Nat’l Credit Sys., 8:19-cv-37, 2020 U.S. Dist. LEXIS 244812 (M.D. Fla. July
        7, 2020).
    -   $300 for an attorney with 19 years’ experience. Victor, 2020 U.S. Dist. LEXIS at 11.


3
  Mr. Millan and Mr. Herman do not have come forward with any evidence of the prevailing market rate
in that Division.
4
  As the Court noted, that was not a straightforward FDCPA case. Instead, it involved a class action that
went to trial and was appealed. Here, Millan’s case was straightforward and was resolved after a few
months.
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   -   $340 for an attorney with between 11- and 14-years’ experience. Mraz v. I.C. Sys., 2:18-
       cv-254, 2021 U.S. Dist. LEXIS 171271 (M.D. Fla. Aug. 23, 2021) adopted by Mraz v.
       I.C. Sys., 2:18-cv-254, 2021 U.S. Dist. LEXIS 169829 (M.D. Fla. Sept. 8, 2021).
   -   $390 for an attorney with 30 years experience. Id.

In various other litigation, Magistrate Judge Kidd has recommended a rate of $140.00 for an

associate with an undefined amount of experience in an employment discrimination case

(Mackey v. Fairwinds Credit Union, 6:19-cv-1921, 2020 U.S. Dist. LEXIS 257141 (M.D. Fla.

Aug. 18, 2020)) and $450.00 an hour in a breach of insurance case with an attorney of 25 years’

experience (Bendick v. USAA Cas. Ins. Co. 6:19-cv-118, 2021 U.S. Dist. LEXIS 140544 (M.D.

Fla. June 3, 2021)).

       Based on the rates awarded in the Orlando Division, the rates requested by Mr. Patti and

Mr. Herman are completely and utterly unreasonable. They exceed, by several hundred dollars,

rates awarded by other attorneys with a lot more experience and in more complex cases than the

one at bar. For example, in Baez, this Court awarded attorneys with between 19 and 27 years of

experience $450 an hour. In awarding such a fee, the Court held that that case was “not a

straightforward FDCPA” and that it was a “class action [that] involved a novel legal theory and

was fiercely litigated by the parties.” Baez, 2019 U.S. Dist. LEXIS at *6 to 10. Here, neither

Mr. Patti nor Mr. Herman has such level of experience concerning FDCPA litigation. Yet, they

still request more than $75 and $175 an hour for a non-trial, non-appeal, non-class action

straightforward FDCPA case that was resolved prior to commencement of any federal court

discovery. Even in a time of record inflation, there is no legal or factual justification for such

hourly rates in this Court. This factor favors a lower hourly rate than requested.

                  iv. Whether the Fee is Fixed or Contingent

       Millan’s counsel were working on a contingent basis. Although a contingency fee does

favor a higher hourly rate, Millan’s requested rates are still unreasonable. RMG has cited to

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other FDCPA (contingent fee cases) and both attorney’s rates exceed those by several hundred

dollars an hour. Although this factor favors a higher rate, it does not favor the rate requested.

                   v. Time Limitations Imposed By the Client or Circumstances

       Millan does not indicate whether any time limitations were imposed by him or the

circumstances of the case. It does not appear that there was time crunch to file suit as the letter

at issue was dated March 1, 2021 and suit was filed on December 10, 2021, which is well within

the FDCPA’s one-year statute of limitations. 15 U.S.C. § 1692k(d). Since there were no such

constraints, there is no need for an hourly rate that greatly exceeds the rate provided by this court

to attorneys with substantially more experience in complex cases. This factor favors a lower

hourly rate than requested.

                  vi. The Amount Involved and the Results Obtained

       Under the FDCPA, a successful plaintiff can recover up to $1,000 in statutory damages

and any actual damages. 15 U.S.C. § 1692k(a). Here, Millan accepted an offer of judgment of

$2,000. This is less than the amount that Millan was seeking. In his Complaint, Millan indicated

that the amount in controversy was between $8,000 and $15,000, excluding costs, interest and

attorneys’ fees. Although Mr. Millan will be compensated for his damages, such award is

between $6,000 and $13,000 less than what he was seeking. Since Millan is recovering

dramatically less than what was sought, that does not merit awarding his attorneys $525 and

$625 for obtaining such a result. This factor favors a lower hourly rate than requested.

                  vii. Experience, Reputation and the Ability of the Attorney

       Mr. Patti’s affidavit states that he was barred in September 2015, practices predominantly

in the Southern District of Florida and practices almost exclusively in consumer protection cases.




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Such an affidavit only provides limited insight into experience and completely fails to provide

any information whatsoever as to his reputation or ability as an attorney. He does not cite to any

landmark cases he has litigated, nor does he provide any information for this court to award an

inflated rate of $525 an hour. Instead, he relies on a Southern District of Florida case which

awarded him $375 a year ago. Mr. Herman, on the other hand, provides more information

regarding his experience. However, a large portion of such experience (acting as a mediator and

arbitrator) does not impact this case or reflect the work he performed. This factor favors a lower

hourly rate than requested.

                 viii. The Undesirability of the Case

       The undesirability of accepting a case will factor into determining the reasonable of an

hourly rate. This Court has held that the availability of statutory damages under the FDCPA

undermines the undesirability argument. Baez, 2019 U.S. Dist. LEXIS at * 8. Millan was

seeking and obtained an award for statutory damages. Since this is not an undesirable case, that

cuts against Millan’s request for an unreasonable hourly rate for his attorneys.

                  ix. The Nature and Length of Professional Relationship With Client

       Lastly, there is no evidence regarding the nature and length of the professional

relationship with Millan. It appears that Millan’s relationship with his attorneys is limited to this

case and a second case filed against RMG. As stated above, since this case was filed, Mr. Patti

has filed 154 other cases regarding other consumers. This indicates that Mr. Patti’s practice is a

volume practice not limited to one or a handful of clients. Instead, such a practice involves

hundreds of clients with hundreds of cases, as indicated in Mr. Patti’s affidavit indicates he has

been involved in over 500 individual consumer cases in less than 7 years of practice. This factor

weighs in favor of a lower hourly rate for Millan’s counsel.



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            b. Recommendation

    Applying the Johnson factors to this case, Millan’s request for $525 and $625 for his

 attorneys is unreasonable. This was a straightforward FDCPA case involving one claim. No

 discovery was conducted, no depositions were taken, and no dispositive motions were filed. The

 time entries reflect, in essence, they drafted the complaint, drafted the case management report

 and accepted the offer of judgment. Millan’s attorneys have not come forward with any

 evidence supporting a claim for such inflated rates. Baez is instructive. The Court found that

 attorneys with substantially more experience (between 19 and 27 years) in a class action that

 went to trial and appealed were entitled to a rate of $450 an hour. Baez is a good example that

 higher rates should be limited to the most skilled attorneys litigating complex cases. Westlake,

 2016 U.S. Dist. LEXIS at * 7. Millan’s counsel has not come forward with evidence showing

 that they should receive a rate reserved for the most skilled attorneys litigating complex cases.

     Mr. Patti has less than seven years of experience. RMG is unaware of any case within this

 Division awarding an attorney with comparable experience a reasonable hourly rate in an

 FDCPA case. Within the District, attorneys with between five and seven years’ experience have

 been awarded $225 and $300 an hour. Frechete v. Nat’l Credit Sys., 2020 U.S. Dist. LEXIS at *

 10. Victor, 2020 U.S. Dist. LEXIS at * 12-13. RMG contends that based on the above factors and

 other rates with comparable experience that a rate of $262.50, which is splitting the difference

 between $225 and $300, is a reasonable hourly rate for Mr. Patti.

    Mr. Herman testified that he has been practicing consumer litigation since 2006 and has

 approximately 14.5 years in experience. In Alston v. Summit Receivables, this Court held that an

 attorney with 15 years of experience in a straightforward FDCPA case $300 was a reasonable

 hourly rate within this Division. Alston, 2018 U.S Dist. LEXIS at * 28. RMG contends that



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 based on the above factors and other rates with comparable experience that a rate of $300 is a

 reasonable hourly rate for Mr. Herman.

     III.    Reasonable Hours

     The next step in the analysis is determining the reasonableness of an attorney’s hours in

 litigating a case. Attorneys “must exercise their own billing judgment to exclude any hours that

 are excessive, redundant, or otherwise unnecessary.” Sandler, 2019 U.S. Dist. LEXIS at 14,

 citing Galdames v. N & D Inv. Corp., 432 F. App’x 801, 806 (11th Cir. 2011). When a court

 finds that an attorney’s fees are unreasonable the court can cut specific hours or make an across-

 the-board reduction. Id.5

     Millan’s attorney’s billing entries include excessive and unnecessary time along with clerical

 work that is not compensable. For the following reasons, Millan’s attorneys time must be greatly

 reduced.

     A. Excessive and/or Unnecessary Time

             a. Herman

     Mr. Herman’s failed to conduct billing judgment and his time entries include excessive and

 unnecessary time. Such excessive and unnecessary time falls into three categories: 1) time spent

 on unrelated cases; 2) time spent on a second case filed by Millan against RMG and 3) time

 spent litigating a case against the creditor.

                     i. Time Spent On Unrelated Cases.

     An attorney can only recover fees for the relevant litigation. Loranger v. Stierheim, 10 F. 3d

 776, 782 (11th Cir. 1994). Here, the relevant litigation is Millan’s FDCPA case regarding


 5
  Courts have found that a 75% to 85% reduction in hours in FDCPA cases is proper. See, Thornton v.
 Wolpoff & Abramson, L.L.P., 312 Fed. Appx. 161 (11th Cir. 2008), Westlake v. Atl. Recovery Solutions,
 LLC, 8:15-cv-1625, 2016 U.S. Dist. LEXIS 7692 (M.D. Fla. Jan. 22, 2016),Vega v. Orlando Hous. Auth.,
 6:14-cv-1700, 2015 U.S. Dist. LEXIS 122759 (M.D. Fla. Sept. 15, 2015).
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 RMG’s March 2, 2021 letter in an attempt to collect a debt owed to the creditor, Radiology

 Associates of South Florida. Mr. Herman’s billing records show that he has billed for claims not

 included in this case. Such entries included other medical service providers, that are not

 Radiology Associates of South Florida, and other unrelated bills. The following are time entries

 that do not relate to Millan’s FDCPA claims against RMG.

  Date          Attorney       Entry                                     Time Billed     Amount
                                                                                         Sought
  8/2/2021      Herman         Receipt and receive of various            .8              $500.00
                               medical bills from eight or so
                               medical providers for determination
                               of 440.13 violations
  8/2/2021      Herman         Analysis review of collection             .4              $250.00
                               statements
  8/2/2021      Herman         Communication to client regarding         .5              $312.50
                               status of medical bills and offered
                               services regarding collection
                               accounts
  12/10/2021 Herman            Analysis and review of additional         .3              $187.50
                               collection notices received since
                               initial communication with client
  12/10/2021 Herman            Communication with claimant               .3              $187.50
                               attorney regarding status of comp case
                               and any follow up from
                               communication with adjuster on
                               payment of outstanding bills
  1/21/2021     Herman         Receipt and review of new bill from       .4              $250.00
                               South Miami Hospital
  2/8/2022      Herman         Receipt and review of Doral Hospital      .9              $562.50
                               records for date of service 091820 and
                               review for work or workers comp
                               references
  2/8/2022      Herman         Review of additional documentation        .3              $187.50
                               from South Miami Urgent Care
  2/8/2022      Herman         Receipt review of Saint Cloud             .4              $250.00
                               Regional Medical Center records for
                               determination of workers comp
                               references
                                                                Total    4.3             $2,695.50




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 These time entries do not relate to Mr. Herman’s work on Millan’s FDCPA case regarding the

 RASF debt. As such, this time must be excluded as excessive and/or unnecessary.

                    ii. Time Spent On Another Millan Case Against RMG.

         Millan filed two cases against RMG. This is the first case, and it pertains to violations of

 the FDCPA stemming from a collection letter. In the second lawsuit, Millan alleged that RMG

 credit reported his debt, he disputed the credit reporting with Trans Union, LLC and RMG failed

 to conduct a reasonable investigation of his dispute, therefore, violating the Fair Credit Reporting

 Act (“FCRA”). See, Pedro Millan v. Trans Union, LLC and Receivable Management Group,

 Inc., United States District Court for the Middle District of Florida, Orlando Division, Civil

 Action File No. 6:22-cv-00212-CEM-LHP (“Millan II”). Unlike this case, in Millan II RMG

 served written discovery on Millan. Mr. Herman’s time entries make it clear that he included

 billing for Millan II in this case because those entries include references to credit reporting, the

 FCRA and responding to discovery. RMG did not serve written discovery requests on Millan in

 this case, therefore, any time Mr. Herman billed regarding responding to discovery is not related

 to this case and is, instead, applicable to Millan II. Ultimately, Millan and RMG agreed to

 dismiss the Millan II with prejudice with “[e]ach party to bear its own fees and costs.” Millan II,

 Doc. 17. That dismissal forecloses Mr. Herman’s attempt to obtain fees from Millan II in this

 case. The following entries from Mr. Herman relate to Millan II, not this case. Therefore, the

 following time must be excluded:

  Date          Attorney        Entry                                      Time Billed     Amount
                                                                                           Sought
  12/10/2021 Herman             Communication with client regarding        .3              $187.50
                                credit reporting of certain accounts
                                from debt collectors and for follow up
                                on credit reporting dispute
  12/31/2021 Herman             Preparation and review of dispute          .6              $375.00
                                letters to the credit reporting

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                               agencies and debt collectors reporting
                               to client credit report
  1/10/2022     Herman         Analysis review of response from           .4              $250.00
                               credit bureaus to dispute over
                               collection accounts
  2/1/2022      Herman         Communication with client regarding        .3              $187.50
                               signing FCRA retainer for
                               proceeding on credit reporting case
  2/3/2022      Herman         Communication from client regarding        .3              $187.50
                               status of credit reporting dispute
                               and request for information on case
                               status
  2/9/2022      Herman         Communication from client regarding        .2              $125.00
                               status of case and update on status of
                               credit reporting
  4/1/2022      Herman         Analysis review file regarding status      .2              $125.00
                               of continued credit reporting
  4/8/2022      Herman         Follow up co-counsel on responses to       .3              $187.50
                               discovery requests as completed by
                               client
  4/11/2022     Herman         Receipt review of offer of judgment        .2              $125.00
                               and letter from RMG regarding status
                               of account and credit reporting
  4/12/2022     Herman         Communication from client                  .2              $125.00
                               regarding status of answers for
                               interrogatories and status of case
  4/13/2022     Herman         Detail communication with client           .3              $187.50
                               regarding completion of
                               interrogatories and status of
                               discovery request
  4/21/2022     Herman         Various emails for co-counsel on           .3              $187.50
                               status of completion of discovery by
                               client
                                                                Total     3.6             $2,250.00

 Pursuant to Loranger, only time spent on the relevant litigation is compensable. Loranger v.

 Stierheim, 10 F. 3d 782. Since these time entries clearly relate to Millan II, not this case, and

 that Millan has already agreed to bear those attorney’s fees, these fees must be excluded. For

 these reasons, Mr. Herman’s time must be reduced by 3.6 hours.




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                   iii. Time Spent Litigating Against RASF.

         Lastly, Mr. Herman’s billing records include time entries for his client’s case against the

 creditor, RASF. See, Pedro Juan Millan v. Radiology Associates of South Florida LLC, In the

 County Court of the 9th Judicial Circuit in and for Osceola County, Florida, Case No. 2021 CC

 004266 CL. The docket of that case reflects that in February 2022, RASF served written

 discovery on Millan. To be clear, RMG did not serve discovery requests in this case. Mr.

 Herman includes the following time entries in February 2022.

  Date          Attorney        Entry                                    Time Billed      Amount
                                                                                          Sought
  2/8/2022      Herman          Analysis and review of interrogatories .6                 $375.00
                                to plaintiff from Radiology
                                Associates
  2/28/2022     Herman          Analysis review of request reduction   .5                 $312.50
                                discussion with client on response for
                                suit with Radiology Associates and
                                anticipated discovery from RMG
                                                                 Total 1.1 Hours          $687.50

 These entries clearly relate to Millan’s case against RASF, not RMG. Since that time does not

 relate to this case it must be excluded.

         In summary, Mr. Herman’s time must be reduced by 9 hours as they are excessive and/or

 unnecessary.

             b. Patti

    Mr. Patti’s time entries also include excessive and unnecessary time. Every few days Mr.

 Patti included a nebulous billing entry as “review and assessment of file.” In total, Mr. Patti

 billed this entry 15 times for a total of 2.9 hours. As this matter involved a single FDCPA claim

 and the offer of judgment was accepted prior to either party conducting any discovery in federal

 court, such entries are unnecessary and excessive. Defendant recommends that 1 hour for



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 “review and assessment of file” is necessary and reasonable, therefore, his time should be

 reduced by 1.9 hours.

       B. Clerical

       Even if not excessive, attorneys cannot be compensated for time spent doing purely clerical

 tasks. Raimondi v. Zakheim & Lavrar, P.A., 6:11-cv-480, 2012 U.S. Dist. LEXIS 55590 (M.D.

 Fla. April 5, 2012), adopted by Raimondi v. Zakheim & Lavrar, P.A, 6:11-cv-480, 2012 U.S.

 Dist. LEXIS 55591 (M.D. Fla. April 20, 2012). Mr. Patti billed clerical time for “receipt” of

 documents filed with the Court. The following is a list of clerical entries that are non-

 compensable:

     Date         Attorney       Entry                                        Time Billed      Amount
                                                                                               Sought
     12/10/2021   Patti          Receipt of Referral                          .1               $52.50
     12/10/2021   Patti          Case filed                                   .1               $52.50
     12/10/2021   Patti          Filing receipt 140150293                     .1               $52.50
     12/10/2021   Patti          Case accepted 2021 CC 004253 CL              .1               $52.50
     12/14/2021   Patti          Receipt of summons                           .1               $52.50
     12/14/2021   Patti          Review of docket for new entries             .1               $52.50
     1/10/2022    Patti          Sent for service                             .1               $52.50
     1/10/2022    Patti          Conformation of service request              .1               $52.50
     1/12/2022    Patti          Receipt of service update                    .1               $52.50
     1/12/2022    Patti          Notice of service completed                  .1               $52.50
     1/12/2022    Patti          Receipt of return of service                 .1               $52.50
     2/1/2022     Patti          Receipt of e-filing notice re: notice of     .1               $52.50
                                 removal (part 1)
     2/1/2022     Patti          Receipt of e-filing notice re: notice of     .1               $52.50
                                 removal (part 1)
     2/1/2022     Patti          Review of notice of removal (6:22-cv-        .1               $52.50
                                 00197)
     2/1/2022     Patti          Receipt of e-filing notice [D.E. 3           .1               $52.50
                                 Local Rule 2.01(A)
     2/1/2022     Patti          Receipt of e-filing notice [D.E. 4]          .1               $52.50
                                 order on discovery motions6

 6
  Mr. Patti billed two entries for several documents. For example, he billed .1 for “Receipt of e-filing
 notice [D.E. 4] order on discovery motions” and then billed .1 for “Review of order on discovery
 motions.” The “receipt” entries are merely clerical actions of accessing the documents from the Court
 and are not compensable attorney time.
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  2/2/2022      Patti         Receipt of e-filing notice [D.E. 5]          .1           $52.50
                              initial order
  2/2/2022      Patti         Receipt of e-filing notice [D.E. 6]          .1           $52.50
                              paper notice regarding local rule
                              compliance
  2/2/2022      Patti         Receipt of e-filing notice [D.E. 7]          .1           $52.50
                              defendant’s certificate of interested
                              persons and corporate disclosure
                              statement
  2/8/2022      Patti         Receipt of e-filing notice [D.E. 9]          .1           $52.50
                              defendant’s answer.
  2/9/2022      Patti         Receipt of e-filing notice [D.E. 10]         .1           $52.50
                              plaintiff’s notice of lead counsel
                              designation.
  2/9/2022      Patti         Receipt of e-filing notice [D.E. 11]         .1           $52.50
                              plaintiff’s certificate of interested
                              persons.
  2/9/2022      Patti         Receipt of e-filing notice [D.E. 12]         .1           $52.50
                              plaintiff’s notice of related actions.
  3/31/2022     Patti         Receipt of e-filing notice [D.E. 13]         .1           $52.50
                              case management report
  4/4/2022      Patti         Receipt of e-filing notice [D.E. 15]         .1           $52.50
                              order directing parties to confer and
                              select mediator
  4/4/2022      Patti         Receipt of e-filing notice [D.E. 16]         .1           $52.50
                              referring case to mediation.
  4/18/2022     Patti         Receipt of e-filing notice [D.E. 17]         .1           $52.50
                              notice of mediation conference
                              scheduling.
  4/20/2022     Patti         Receipt of e-filing notice [D.E. 18]         .1           $52.50
                              notice of acceptance of offer of
                              judgment
  5/9/2022      Patti         Receipt of e-filing notice [D.E. 19]         .1           $52.50
                              regarding judgment to be entered
                              against Defendant
  5/10/2022     Patti         Receipt of e-filing notice [D.E. 20]         .1           $52.50
                              regarding judgment entered against
                              defendant
                                                                  Totals   3 hours      $1,575.00


 Because this time was clerical is nature, Millan’s attorney cannot recover that time. Therefore,

 Mr. Patti’s time must be reduced by 3 hours to exclude this clerical time.



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        Furthermore, Mr. Patti has included 2.9 hours for entries that merely states

 “Correspondence to opposing counsel” or “Receipt and review of correspondence from opposing

 counsel.” A review of this correspondence reflects that a large portion of that correspondence

 relates to scheduling calls between the Parties. Scheduling correspondence is merely clerical

 time and should not be compensable as attorney time. Some of that correspondence did relate to

 the claims and should not be eliminate in their entirety. RMG contends that only 1 hour related

 to that correspondence is compensable; therefore, his time should be reduced by 1.9 hours.

        In summary, Mr. Patti’s time must be reduced by 4.9 hours to exclude clerical time.

    C. Recommendation

        Based on the above, RMG contends that the following are reasonable hours for Mr. Patti

 and Mr. Herman:

  Attorney            Hours Sought           Excessive/      Clerical           Reasonable
                                             Unnecessary                        Hours
  Patti               20.3 Hours             - 1.9 Hours     - 4.9 Hours        13.5 Hours
  Herman              12.7 Hours             - 9 Hours       0 Hours            3.7 Hours
  Total               33 Hours               -10.9 Hours     - 4.9 Hours        17.2 Hours

                                             CONCLUSION

        For the foregoing reasons, RMG contends that the following are reasonable hourly rates

 and reasonable hours for this litigation:

  Attorney                 Reasonable Hourly         Reasonable Hours      Reasonable
                           Rate                                            Attorneys Fees
  Patti                    $262.50                   13.5 Hours            $3,543.75
  Herman                   $300                      3.7 Hours             $1,110.00
                                        Total        17.2 Hours            $4,653.75




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    Respectfully submitted this 6th day of June 2022.

                                                       BEDARD LAW GROUP, P.C.

                                                       /s/ Jonathan K. Aust
                                                       Jonathan K. Aust
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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF FLORIDA
                                   DIVISION ORLANDO

 PEDRO JUAN MILLAN,                             )
                                                )
          Plaintiff,                            )
 vs.                                            )            Civil Action File No.
                                                )            6:22-cv-00197-CEM-EJK
 RECEIVABLE MANAGEMENT                          )
 GROUP, INC.                                    )
                                                )
          Defendant.                            )
                                                )

                                   CERTIFICATE OF SERVICE

       I hereby certify that on this date I electronically filed Defendant’s Response in
 Opposition to Plaintiff’s Motion for Attorney’s Fees using the CM/ECF system which will
 automatically send email notification of such filing to the following attorneys of record:

  Paul Herman                                           Thomas J. Patti, III
  paherman1956@gmail.com                                tom@jibraellaw.com

       Respectfully submitted this 6th day of June 2022.

                                                             BEDARD LAW GROUP, P.C.

                                                             /s/ Jonathan K. Aust
                                                             Jonathan K. Aust
                                                             Florida Bar No. 1033458
                                                             Counsel for Defendant




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